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                     Exhibit 1
 Case: 1:19-cv-02937 Document #: 1-1 Filed: 05/01/19 Page 2 of 29 PageID #:9

                                                                         Service of Process
                                                                         Transmittal
                                                                         04/02/2019
                                                                         CT Log Number 535218179
TO:     CSX Legal Papers
        CSX Corporation
        500 Water St, C160
        Jacksonville, FL 32202-4423

RE:     Process Served in Illinois

FOR:    CSX Intermodal Terminals, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  RICHARD ROGERS, individually and on behalf of similarly situated individuals,
                                  Pltf. vs. CSX INTERMODAL TERMINALS, INC. etc., Dft.
DOCUMENT(S) SERVED:               Summons, Complaint, Motion, Memorandum, Certificate, Exhibit(s)
COURT/AGENCY:                     Cook County Circuit Court - County Department - Chancery Division, IL
                                  Case # 2019CH04168
NATURE OF ACTION:                 Class Action- Violations of the Illinois Biometric Information Privacy Act.
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Chicago, IL
DATE AND HOUR OF SERVICE:         By Process Server on 04/02/2019 at 15:18
JURISDICTION SERVED :             Illinois
APPEARANCE OR ANSWER DUE:         07/29/2019 at 09:30 a.m.
ATTORNEY(S) / SENDER(S):          David L. Gerbie
                                  MCGUIRE LAW, P.C
                                  55 W. Wacker Drive, 9th FI.
                                  Chicago, IL 60601
                                  312-893-7002
ACTION ITEMS:                     CT has retained the current log, Retain Date: 04/03/2019, Expected Purge Date:
                                  04/08/2019

                                  Image SOP

                                  Email Notification, CSX Legal Papers LegalPapersIntake@csx.com

SIGNED:                           C T Corporation System
ADDRESS:                          208 South LaSalle Street
                                  Suite 814
                                  Chicago, IL 60604
TELEPHONE:                        312-345-4336




                                                                         Page 1 of 1 / RM
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
                  Case: 1:19-cv-02937 Document #: 1-1 Filed: 05/01/19 Page 3 of 29 PageID #:10
  Return Date: No return date scheduled
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  Court
                                    2221 - Not Served                                                         FILED
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                                                                                                              DOROTHY BROWN
       2420 - Served By Publication 2421 - Served By Publication                                              CIRCUIT CLERK
       Summons - Alias Summons                                                            (06/28/18) CCG 0001 COOK COUNTY, IL
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(O                                                                                                            2019CH04168
sX                    IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

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csj
        Richard Rogers
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                                                     (Name all parties)       Case No.      2019-CH-04168
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O)      CSX Intermodal Terminals, Inc.
        c/oC T Ccxporatkxi System
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        208 SO LASALLE ST, SUriE 814
<                                                 0 SUMMONS             □ ALIAS SUMMONS
Q       Chicago, IL60604
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       To each Defendant:
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       YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto attached, or otherwise
       file your appearance and pay the required fee within thirty (30) days after service of this Summons, not counting the day of service.
       To file your answer or appearance you need access to the internet. Please visit wwwcookcountvclerkofcourt.org to initiate this process.
       Kiosks with internet access are available at all Clerk’s Office locations. Please refer to the last page of this document for location
       information.
       If you fail to do so, a judgment by default may be entered against you for the relief requested in the complaint.
       To the Officer:
       This Summons must be returned by the officer or other person to whom it was given for service, with endorsement of service and fees,
       if any, immediately after service. If service cannot be made, this Summons shall be returned so endorsed. This Summons may not be
       served later than thirty (30) days after its date.

       E-fihng is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account
       with an e-fiUng service provider. Visit https://efile.iUinoiscourts.gov/setvice-ptovidets.htm to learn mote and to select a
       service provider. If you need additional help or have trouble e-filing, visit http://www.iUinoiscourts.gov/FAQ/gethelp.asp.
                                                                                          3/29/2019 4:53 PM DOROTHY BROWN
                                                                               Witness;


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        Atty. No.: 56618                                                                  DOROTHVtf                  Clerk of Court

        Atty Name: McGuire Law, P.C.
                                                                               Date of Service: ___________
        Atty. for: Richard Rogers                                              (To be inserted by officer on copy left with Defendant
        Address: 55 W. Wacker Dr. 9th FI.                                      or other person):
        City: Chicago                                       State:
        Zip: 60601
       'Telephone: 312-893-7002
        Primary Email: dgerbie(^mcgpc.com
        Secondary Email: jsheikali@mcgpc.com
        Tertiary Email: mmcguire@mcgpc. com
             Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois                         cookcountyclerkofcourt.org
                                                                        Page 1 of 2
              Case: 1:19-cv-02937 Document #: 1-1 Filed: 05/01/19 Page 4 of 29 PageID #:11




                CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS


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<o
     O    Richard ] Daley Center                            o       Domestic Relations Division
          50 W Washington                                           Richard] Daley Center
s                                                                   50 W Washington, Rm 802
X         Chicago, IL 60602
o    o    District 2 - Skokie                                       Chicago, IL 60602
CM

          5600 Old Orchard Rd                                       Hours: 8:30 am - 4:30 pm
CL
CO        Skokie, IL 60077                                  O       Civil Appeals
a>   G    District 3 - Rolling Meadows                              Richard J Daley Center
          2121 EucUd                                                SOW Washington, Rm 801
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          Rolling Meadows, IL 60008                                 Chicago, IL 60602
UJ                                                                  Hours: 8:30 am - 4:30 pm
<    n    District 4 - Maywood
o                                                           O       Criminal Department
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          1500 Maybrook Ave
          Maywood, IL 60153                                         Richard] Daley Center
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                                                                    50 W Washington, Rm 1006
     O    District 5 - Bridgeview                                   Chicago, IL 60602
          10220 S 76th Ave                                          Hours: 8:30 am - 4:30 pm
          Bridgeview, IL 60455
                                                            O       County Division
     O    District 6 - Markham                                      Richard ] Daley Center
          16501 S Kedzie Pkwy                                       50 W Washington, Rm 1202
          Markham, IL 60428                                         Chicago, IL 60602
     o    Domestic Violence Court                                   Hours: 8:30 am - 4:30 pm
          555 W Harrison                                     o      Probate Division
          Chicago, IL 60607                                         Richard ] Daley Center
     o    ]uvenile Center Building                                  50 W Washington, Rm 1202
          2245 W Ogden Ave, Rm 13                                   Chicago, IL 60602
          Chicago, IL 60602                                         Hours: 8:30 am - 4:30 pm
     ri   Criminal Court Building                            O      Law Division
          2650 S California Ave, Rm 526                             Richard ] Daley Center
          Chicago, IL 60608                                         50 W Washington, Rm 801
                                                                    Chicago, IL 60602
     Daley Center Divisions/Departments                             Hours: 8:30 am - 4:30 pm
     O    Civil Division                                     o      Traffic Division
          Richard ] Daley Center                                    Richard ] Daley Center
          50 W Washington, Rm 601                                   50 W Washington, Lower Level
          Chicago, IL 60602                                         Chicago, IL 60602
          Hours: 8:30 am - 4:30 pm                                  Hours: 8:30 am - 4:30 pm
     W    Chancery Division
          Richard ] Daley Center
          50 W Washington, Rm 802
          Chicago, IL 60602
          Hours: 8:30 am - 4:30 pm


          Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois       cookcountyclerkofcourt.org
                                                      Page 2 of 2
                  Case: 1:19-cv-02937 Document #: 1-1 Filed: 05/01/19 Page 5 of 29 PageID #:12
      Hearing Date: 7/29/2019 9:30 AM - 9:30 AM
      Courtroom Number: 2402                   12-Person Jury
      Location: District 1 Court
               Cook County, IL
                                                                                                        FILED
                                                                                                        3/29/2019 4:03 PM
                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN
                                                                               CIRCUIT CLERK
                                     COUNTY DEPARTMENT, CHANCERY DIVISION      COOK COUNTY, IL
00
(O                                                                                                      2019CH04168
S                   RICHARD ROGERS, individually and on             )
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                    behalf of similarly situated individuals,       )
                                                                    )
                             Plaintiff,                             )          No. 2019CH04168
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                                            V.                      )
5                                                                   )          Hon.
o>                  CSX INTERMODAL TERMINALS, INC. )
                    a Delaware corporation.        )                           Jury Trial Demanded
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                                                  CLASS ACTION COMPLAINT

                        Plaintiff Richard Rogers (“Plaintiff’), individually and on behalf of other similarly situated

                individuals, brings this Class Action Complaint against Defendant CSX Intermodal Terminals,

                Inc. (“CSX”) for its violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/1,

                et seq. (the “BIPA”), and to obtain redress for all persons injured by its conduct. Plaintiff alleges

                as follows based on personal knowledge as to his own acts and experiences, and as to all other

                matters, upon information and belief, including an investigation conducted by his attorneys.

                                                         INTRODUCTION

                        1.       BIPA defines a “biometric identifier” as any personal feature that is unique to an

                individual, including fingerprints and hand geometry. “Biometric infoirnation” is any information

                based on a biometric identifier, regardless of how it is converted or stored. Collectively, biometric

                identifiers and biometric information are known as “biometrics.” 740 ILCS 14/10.

                        2.       Defendant CSX is one of the largest rail service providers in North America.

                        3.       Defendant CSX requires truck drivers who visit its facilities, including Plaintiff, to

                provide their biometric identifiers and biometric information, in the form fingerprints and related



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      information, so that CSX may identify which individuals and truck drivers are visiting its facilities

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      for security purposes.
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              4.       BIPA provides, inter alia, that a private entity, such as Defendant, may not collect,

      capture, purchase, or otherwise obtain an individual’s biometric identifiers, such as fingerprints
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      and hand scans, or any biometric information, regardless of the manner from which it was
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o>    converted, or is converted or stored, unless it first;
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<                  a. informs that person in writing that biometric identifiers or biometric information
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c                     will be collected or stored;

                   b. informs that person in writing of the specific purpose and the length of term for

                      which such biometric identifiers or biometric information is being collected, stored

                      and used; and

                   c. receives a written release from the person for the collection of their biometric

                      identifiers or biometric information.

      740 ILCS 14/15(b)(l)-(3).

              5.        BIPA also requires private entities in possession of biometrics to develop a

      publicly-available written policy outlining the storage and destruction policies of such biometric

      identifiers, and/or any biometric information derived from such identifiers. 750 ILCS 14/15(a).

              6.       Finally, private entities are prohibited from profiting from an individual’s biometric

      identifiers or biometric information, as well as disclosing the same to third parties without

      informed consent. 740 ILCS 14/15(c)&(d).

              7.       Indeed, “biometrics are unlike other unique identifiers that are used to access

      finances or other sensitive information,” (740 ILCS 14/5), and therefore require special treatment

      compared to traditional private personal information. For example, even sensitive information like



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     Social Security numbers, when compromised, can be changed. “Biometrics, however, are

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     biologically unique to each individual and therefore, once compromised, such individual has no
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     recourse, is at a heightened risk for identity theft in, and is likely to withdraw from biometric
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     facilitated transactions.” 740 ILCS 14/5.
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             8.     Plaintiff brings this action for statutory damages and other remedies as a result of
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oi   Defendant’s collective and respective conduct in violating his biometric privacy rights under
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<    BIPA.
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             9.     Compliance with BIPA is straightforward and minimally-burdensome. For

     example, the necessary disclosures may be accomplished through a single sheet of paper.

             10.    BIPA’s requirements bestow a right to privacy in biometrics and a right to make an

     informed decision when electing whether to provide or withhold their biometrics.

             11.    The deprivation of the statutory rights conferred by BIPA constitutes the actual

     injuries the Illinois Legislature sought to prevent.

             12.     On behalf of himself and the proposed Class defined below. Plaintiff seeks an

     injunction requiring Defendant to comply with BIPA, as well as an award of statutory damages to

     the Class members and monetary damages to be determined at trial, together with costs and

     reasonable attorneys’ fees.

                                                   PARTIES

              13.    Defendant CSX is a Delaware company that conducts, and is licensed by the Illinois

     Secretary of State to conduct, business in Illinois. CSX is headquartered in Florida and conducts

     business throughout Cook County.

             14.     At all relevant times. Plaintiff has been a resident and citizen of the state of Illinois

     and visited Defendant’s facilities in Illinois.


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                                        JURISDICTION AND VENUE

§             15.     This Court may assert personal jurisdiction over Defendant pursuant to 735 ILCS
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      5/2-209 in accordance with the Illinois Constitution and the Constitution of the United States,
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      because Defendant is doing business within this state and because Plaintiffs claims arise out of
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      Defendant’s unlawful in-state actions.

35            16.     Venue is proper in Cook County pursuant to 735 ILCS 5/2-I0I, because Defendant
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<     is doing business in Cook County and thus resides there under § 2-102, and because the transaction
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      out of which this cause of action arises occurred in Cook County.

                                     FACTS SPECIFIC TO PLAINTIFF

              17.     During the relevant time period. Plaintiff worked as a truck driver.

              18.     During his role as a truck driver. Plaintiff was required to visit various railyards,

      including those owned and operated by Defendant, to pick up and drop off various freight loads.

      At such facilities. Plaintiff was required to scan his biometric identifiers and/or biometric

      information, i.e. his fingerprints and related information, into Defendant’s biometrically-enabled

      security and identity verification devices and associated technology (the “Biometric System”).

              19.     Using the Biometric System, Defendant CSX collected, captured, stored, and

      otherwise obtained the biometric identifiers and associated biometric information from Plaintiff

      and other truck drivers in order to allow and track their access to its facilities.

              20.     Although Defendant CSX collected, captured, and stored biometric identifiers and

      biometric information, it failed to provide any written disclosures describing the purpose and

      duration of such use, it failed to make publicly available any retention or destruction policies, and

      it failed to obtain informed written consent from Plaintiff and other similarly situated individuals.

      all in violation of BIPA.


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              21.    Defendant CSX further failed to obtain Plaintiffs and other truck drivers’ informed

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      consent prior to collecting and/or disseminating their biometric information to any of its
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      technology vendors in violation of BIPA.
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              22.    By failing to comply with BIPA, Defendant has violated Plaintiff s substantive state
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      rights to biometric privacy.

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<             23.     Plaintiff brings this action on behalf of himself and a class of similarly situated
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      individuals pursuant to 735 ILCS § 5/2-801. Plaintiff seeks to represent a Class and Subclass

      (unless otherwise noted, “Class”) defined as follows:

              Class: All individuals whose biometric identifiers or biometric information were collected,
              captured, stored, transmitted, disseminated, or otherwise used by or on behalf of Defendant
              CSX within the state of Illinois any time within the applicable limitations period.

              24.    Excluded from the Class are any members of the judiciary assigned to preside over

      this matter; any officer or director of Defendant; and any immediate family member of such officer

      or director.

              25.    There are at least thousands of members of the Class, making the members of the

      Class so numerous that Joinder of all members is impracticable. Although the exact number of

      members of the Class is currently unknown to Plaintiff, the members can be easily identified

      through Defendant’s records.

              26.    Plaintiffs claims are typical of the claims of the Class he seeks to represent.

      because the basis of Defendant’s liability to Plaintiff and the Class is substantially the same, and

      because Defendant’s conduct has resulted in similar injuries to Plaintiff and to the Class.




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             27.     There are many questions of law and fact common to the claims of Plaintiff and the

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<o    Class, and those questions predominate over any questions that may affect individual members of
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      the Class. Common questions for the Class include, but are not limited to, the following:
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                     a.    Whether the Biometric System collects, captures, or otherwise obtains
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                           biometric identifiers or biometric information;
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(SI                  b.    Whether any biometric information is generated or otherwise derived from
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<                          the Biometric System;
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c                    c.    Whether Defendant CSX disseminates biometric information;

                     d.    Whether Defendant CSX made available to the public a written policy that

                           establishes a retention schedule and guidelines for destroying biometric

                           identifiers or biometric information;

                     e.    Whether Defendant CSX obtained a written release from the Class before

                           capturing, collecting, or otherwise obtaining their biometric identifiers or

                           biometric information;

                     f     Whether Defendant’s conduct violates BIPA;

                     g-    Whether Defendant’s BIPA violations are willful or reckless; and

                     h.    Whether Plaintiff and the Class are entitled to damages and injunctive relief

             28.     Absent a class action, most members of the Class would find the cost of litigating

      their claims to be prohibitively expensive and would thus have no effective remedy. The class

      treatment of common questions of law and fact is superior to multiple individual actions or

      piecemeal litigation in that it conserves the resources of the courts and the litigants and promotes

      consistency and efficiency of adjudication.




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            29.     Plaintiff will fairly and adequately represent and protect the interests of the other

§    members of the Class he seeks to represent. Plaintiff has retained counsel with substantial
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     experience in prosecuting complex litigation and class actions. Plaintiff and his counsel are

     committed to vigorously prosecuting this action on behalf of the other members of the Class and
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     have the financial resources to do so. Neither Plaintiff nor his counsel has any interest adverse to
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O)   those of the other members of the Class.
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<           30.     Defendant has acted and failed to act on grounds generally applicable to the
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     Plaintiff and the other members of the Class, requiring the Court’s imposition of uniform relief to

     ensure compatible standards of conduct toward the members of the Class and making injunctive

     or corresponding declaratory relief appropriate for the Class as a whole.

                                               COUNT I
             Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq.
                  (On behalf of Plaintiff and the Class and against Defendant CSX)

            31.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

            32.     Defendant CSX is a private entity under BIPA.

            33.     In order to secure its facilities, maintain access records, and identify visitors to its

     facilities. Defendant CSX collects, captures, stores, uses, and disseminates biometric identifiers

     and/or biometric information.

            34.     The information and data that Defendant CSX obtains does not exist absent the

     collection, capture, storage, transfer, and use of Plaintiffs and Class members’ biometric

     identifiers and/or biometric information.

            35.     Prior to obtaining Plaintiffs and the Class members’ biometric identifiers and/or

     biometric information, and in violation of 740 ILCS I4/I5(b), Defendant CSX failed to provide

     any written disclosures regarding its use of such information, nor the purpose or duration of such


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     use, and Defendant CSX failed to obtain written releases from Plaintiff and the Class members in

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     order to legally collect and obtain such information.
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            36.      Prior to storing Plaintiffs and the Class members’ biometric information, and in

     violation of 740 ILCS 14/15(a), Defendant CSX failed to make publicly available a retention and
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     destruction schedule for such biometric information.
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            37.      BIPA provides for statutory damages of $5,000 for each willful and/or reckless
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<    violation of BEPA and, alternatively, damages of $1,000 for each negligent violation of the BIPA.
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            38.      Defendant CSX’s violations of BIPA, as set forth herein, were knowing and willful,

     or were at least in reckless disregard of the statutory requirements. Alternatively, Defendant CSX

     negligently failed to comply with BIPA.

            39.      Accordingly, with respect to Count I, Plaintiff, on behalf of himself and the

     proposed Class, prays for the relief set forth below.

                                          PRAYER FOR RELIEF

            WHEREFORE, Plaintiff, on behalf of himself and the proposed Class, respectfully

     requests that this Court enter an Order:

                  a. Certifying the Class as defined above, appointing Plaintiff as class representative

                     and the undersigned as class counsel;

                  b. Declaring that Defendant’s actions, as set forth herein, violate BIPA;

                  c. Awarding injunctive and equitable relief as necessary to protect the interests of

                     Plaintiff and the Class by requiring Defendant to comply with BIPA;

                  d. Awarding statutory damages of $5,000 for each willful and/or reckless violation of

                     the BIPA, pursuant to 740 ILCS 14/20(1);




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                 e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

                     pursuant to 740 ILCS 14/20(3);
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                 f Awarding reasonable attorneys’ fees, costs, and other litigation expenses pursuant
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                     to 740 ILCS 14/20(3);
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                 g. Awarding pre- and post-judgment interest, as allowable by law; and
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o>               h. Awarding such further and other relief as the Court deems Just and equitable.
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             Plaintiff requests trial by jury of all claims that can be so tried.


      Dated: March 29, 2019                          Respectfully Submitted,

                                                     RICHARD ROGERS, individually and on
                                                     behalf of a class of similarly situated individuals


                                              By:    /s/ David L. Gerbie
                                                     One of Plaintiff’s Attorneys


      Myles McGuire
      David L. Gerbie
      MCGUIRE LAW, P.C.
      55 W. Wacker Drive, 9th FI.
      Chicago, IL 60601
      Tel: (312) 893-7002
      mmcguire@mcgpc.com
      dgerbie@mcgpc.com

      Attorneys for Plaintiff and the Putative Class
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  Return Date: No return date scheduled
  Hearing Date: 7/29/2019 9:30 AM - 9:30 AM
  Courtroom Number: 2402
  Location: District 1 Court                                                                         FILED
           Cook County, IL                                                   4/1/2019 1:42 PM
                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN
                                                                             CIRCUIT CLERK
                                   COUNTY DEPARTMENT, CHANCERY DIVISION      COOK COUNTY, IL
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S                  RICHARD ROGERS, individually and on              )
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                   behalf of similarly situated individuals,        )
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s                         Plaintiff,                                )       No. 2019CH04168
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5                  CSX INTERMODAL TERMINALS, INC. )
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                   a Delaware corporation.        )                         Jury Trial Demanded
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                  PLAINTIFF’S MOTION FOR CLASS CERTIFICATION OR, ALTERNATIVELY,
                  FOR A DEFERRED CLASS CERTIFICATION RULING PENDING DISCOVERY

                      Plaintiff Richard Rogers, by and through his undersigned counsel, pursuant to 735 ILCS

               5/2-801, moves for entry of an order certifying the Class proposed below, appointing Plaintiff as

               Class Representative, and appoiriting Plaintiffs attorneys as Class Counsel. Alternatively, Plaintiff

               requests, to the extent the Court determines further evidence is necessary to prove any element of

               735 ILCS 5/2-801, that the Court defer consideration of this Motion pending a reasonable period

               to complete discovery. See, e.g., BallardRNCenter, Inc. v. Kohll’s Pharmacy & Homecare, Inc.,

               2015 IL 118644, at      42—43 (citing Damasco v. Clearwire Corp., 662 F.3d 891, 896-97 (7th Cir.

               2011). In support of his Motion, Plaintiff submits the following Memorandum of Law.


               Dated: April 1, 2019                          Respectfully Submitted,

                                                             RICHARD ROGERS, individually and on behalf of
                                                             a Class of similarly situated individuals

                                                             By: /s/ David L. Gerbie
                                                             One of Plaintiff’s Attorneys




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       Case: 1:19-cv-02937 Document #: 1-1 Filed: 05/01/19 Page 15 of 29 PageID #:22




      David L. Gerbie
      Jad Sheikali
S     MCGUIRE LAW, P.C. (#56618)
S      55 W. Wacker Drive, 9th FI.
X
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      Chicago, IL 60601
      Tel: (312) 893-7002
5     dgerbie@mcgpc.com
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CM    jheikali@gmail.com
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      Attorneys for Plaintiff and the Putative Class
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       Case: 1:19-cv-02937 Document #: 1-1 Filed: 05/01/19 Page 16 of 29 PageID #:23




                   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
                MOTION FOR CLASS CERTIFICATION OR, ALTERNATIEY, FOR
§            A DEFFERED CLASS CERTIFICATION RULING PENDING DISCOVERY
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             This Court should certify a class of individuals whose biometric identifiers and biometric
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      information was captured, collected, stored, and used by CSX Intermodal Terminals, Inc. (“CSX”
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      or “Defendant”), a large freight railway network. After Plaintiff learned of Defendant’s wrongful
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      biometric practices, he brought suit on behalf of a class of similarly situated individuals pursuant
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G     to the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq. (“BPA”), to obtain
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Li.   redress for all persons injured by Defendant’s conduct.

      I.     INTRODUCTION; BIPA

             The Illinois Biometric Information Protection Act, or BIPA, is designed to protect

      individuals’ personal biometric information and their right to make an informed decision with

      respect to providing such information. Under BIPA, biometric identifiers include retina or iris

      scans, voiceprints, and fingerprints; while biometric information can be defined as the

      manipulation of biometric identifiers into usable, storable data. In recognition of the importance

      of the security of individuals’ biometrics, the Illinois Legislature enacted BIPA, which provides.

      inter alia, that private entities, such as Defendant, may not obtain and/or possess an individual’s

      biometrics unless they: (1) inform that person in writing that biometric identifiers or information

      will be captured, collected, stored, or used; (2) inform that person in writing of the specific purpose

      and the length of term for which such biometric identifiers or biometric information is being

      captured, collected, stored, and used; (3) received a written release from the person for the

      collection of his or his biometric identifiers and/or information; and (4) publish publicly and make

      available a written retention schedule and guidelines for permanently destroying biometric

      identifiers and biometric information. 740 ILCS 14/5.



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CO   11.     FACTUAL BACKGROUND
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             A.       The Underlying Misconduct.

s            Defendant has taken the biometrics of at least hundreds of individuals by scanning their
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     fingerprints within the state of Illinois. (Compl. ^ 25.) During the relevant period, Defendant
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     implemented a biometric identity verification system to track and allow access to its facilities.
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ii          However, Defendant failed to obtain informed consent from the individuals prior to

     capturing and collecting their biometric information. Defendant failed to provide individuals and

     the public with a retention schedule and deletion policies which detail how and when Defendant

     would retain and then destroy the individuals’ biometric information and/or biometric identifiers

     and, finally. Defendant did not obtain consent to transmit or disseminate biometrics to third parties.

     (Compl. Vi 20-22.)

            B.        The Proposed Class

            Plaintiff brings this action on behalf of himself and a Class (the “Class”) of similarly

     situated individuals pursuant to 735 ILCS § 5/2-801. The Class is defined as follows:

                      Class: All individuals whose biometric identifiers or biometric information were
                      collected, captured, stored, transmitted, disseminated, or otherwise used by or on
                      behalf of Defendant CSX within the state of Illinois any time within the applicable
                      limitations period.

     (Compl. H 23.) As explained below, the proposed Class satisfies each of the four requirements for

     certification under Section 2-801 of the Illinois Code of Civil Procedure—numerosity.

     commonality, adequacy of representation, and fair and efficient adjudication. A class action is not

     Just appropriate here, it is also the only way that the members of the putative Class can obtain

     appropriate redress for Defendant’s unlawful conduct.


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      III.    ARGUMENT

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              A.      Standards for Class Certification
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              To obtain class certification, it is not necessary for a plaintiff to establish that he will prevail

      on the merits of the action. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 178 (1974) (“[T]he
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      question is not whether the plaintiff or plaintiffs have stated a cause of action or will prevail on the
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      merits, but rather whether the requirements of Rule 23 are met.” (internal quotation marks and
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Q     citation omitted)). As such, in determining whether to certify a proposed class, the Court should
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o:    accept the allegations of the complaint as true. Ramirez v. Midway Moving & Storage, Inc., 378

      Ill. App. 3d 51, 53 (IstDist. 2007).

              To proceed with a class action, the movant must satisfy the “prerequisites for the

      maintenance of a class action” set forth in Section 2-801 of the Illinois Code of Civil Procedure,

      which provides:

              An action may be maintained as a class action in any court of this State and a party
              may sue or be sued as a representative party of the class only if the court finds:

              (1)     The class is so numerous that joinder of all members is
                      impracticable.
              (2)     There are questions of fact or law common to the class, which
                      common questions predominate over any questions affecting only
                      individual members.
              (3)     The representative parties will fairly and adequately protect the
                      interest of the class.
              (4)     The class action is an appropriate method for the fair and efficient
                      adjudication of the controversy.

      735 ILCS 5/2-801. As demonstrated below, each prerequisite is established for the Class, and the

      Court should therefore certify the proposed Class.

              Section 2-801 is modeled after Rule 23 of the Federal Rules of Civil Procedure and “federal

      decisions interpreting Rule 23 are persuasive authority with regard to questions of class

      certification in Illinois.” Avery v. State Farm Mut. Auto. Ins. Co., 216 Ill. 2d 100, 125 (Ill. 2005).


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      Circuit courts have broad discretion in determining whether a proposed class meets the

§     requirement for class certification and ought to err in favor of maintaining class certification.
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      Ramirez, 378 Ill. App. 3d at 53. While a court may rule on class certification without requiring
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      further discovery, see Manual for Complex Litigation (Fourth) § 21.14, at 255 (2004), courts have
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      found that discovery is helpful prior to addressing a motion for class certification. See, e.g., Ballard
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      RNCenter, Inc. v. Kohll’s Pharmacy & Homecare, Inc., 2015 IL 118644, at | 42 (“If the parties
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<     have yet to fully develop the facts needed for certification, then they can also ask the district court
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u.    to delay its ruling to provide time for additional discovery or investigation.”) (quoting Damasco v.

      Clearwire Corp., 662 F.3d 891, 896 (7th Cir. 2011)).

              All the prerequisites for class certification are satisfied here, even though Plaintiff has not

      yet had an opportunity to engage in and complete discovery. However, in the interests of

      establishing a more fully developed record before ruling on class certification issues, the Court

      should defer ruling on this Motion pending the completion of discovery and submission of

      supplemental briefing.

              B.      The Numerosity Requirement is Satisfied

              The first step in certifying a class is a showing that “the class is so numerous that joinder

      of all members is impracticable.” 735 ILCS 5/2-801(1). This requirement is met when “Join[ing]

      such a large number of plaintiffs in a single suit would render the suit unmanageable and, in

      contrast, multiple separate claims would be an imposition on the litigants and the courts.” Gordon

      V. Boden, 224 Ill. App. 3d 195, 200 (1st Dist. 1991) (citing Steinberg v. Chicago Med. Sch., 69

      I11.2d 320, 337 (Ill. 1977)). To satisfy this requirement a plaintiff need not demonstrate the exact

      number of class members but, must offer a good faith estimate as to the size of the class. Smith v.

      Nike Retail Servs., Inc., 234 F.R.D. 648, 659 (N.D. Ill. 2006).



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             Plaintiff alleges that there are at least thousands of members of the Class. (Complaint at f

§    25.) Because definitive evidence of numerosity can only come from the records of Defendant and
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     its agents, it is proper to rely upon the allegations of the Complaint in certifying the Class. See 2

5    A. Conte & H. Newberg, Newberg on Class Actions § 7.20, at 66 (stating that where numerosity
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     information is in the sole possession of the party opposing the class, courts generally rely on the
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     complaint as prima facie evidence or defer ruling). Defendant collects the fingerprints of at least
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D    thousands of individuals—an amount that more than satisfies the numerosity requirement. See
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LL   Kulins V. Malco, A Microdot Co., Inc., 121 Ill. App. 3d 520, 529 (1st. Dist. 1984) (finding that, in

     Cook County, 30 class members is sufficient to satisfy numerosity.

             Additionally, the members of the putative Class can be easily and objectively determined

     from Defendant’s records as that information is also collected and connected to each person’s

     biometric information. Furthermore, it would be completely impracticable to join the claims of

     the members of the Class, because they are disbursed throughout Illinois, and because absent a

     class action, few members could afford to bring an individual lawsuit over the amounts at issue in

     this case, since each individual member’s claim is relatively small. See Gordon, 224 Ill. App. 3d

     at 200. Accordingly, the first prerequisite for class certification is met.

             C.      Common Questions of Law and Fact Predominate

             The second requirement of Section 2-801(2) is met where there are “questions of fact or

     law common to the class” and those questions “predominate over any questions affecting only

     individual members.” 735 ILCS 5/2-801(2). Such common questions of law or fact exist when the

     members of the proposed class have been aggrieved by the same or similar misconduct. See Miner

     V. Gillette Co., 87 I11.2d 7, 19 (Ill. 1981); Steinberg, 69 I11.2d at 342. These common questions

     must also predominate over any issues affecting individual class members. See 0-Kay Shoes, Inc.



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     V. Rosewell, 129 Ill. App. 3d 405, 408 (1st Dist. 1984).

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             Here, the claims of the Class members arise out of the same activity by Defendant, are
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     based on the same legal theory, and implicate, among others, the following common issues:

     whether Defendant made available to the public a written policy that establishes a retention
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     schedule and guidelines for destroying biometrics; whether Defendant obtained a written release
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     from the Class before capturing, collecting, or otherwise obtaining their biometrics; whether
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<    Defendant provided a written disclosure that explains the specific purposes, and the length of time.
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U.   for which biometrics were being collected, stored and used; whether Defendant’s conduct violates

     BIPA; whether Defendant’s conduct is negligent; whether Defendant’s violations of the BIPA are

     willful or reckless; and whether Plaintiff and the Class are entitled to damages and injunctive relief.

     (Compl. TI27.)

             As alleged, and as will be shown through obtainable evidence. Defendant engaged in a

     common course of conduct by collecting, capturing, storing and/or or using the biometric

     identifiers and/or biometric information of Class members without retaining a written release and

     without providing a retention schedule to them or to the public. Any potential individualized issues

     remaining after common issues are decided would be de minimis. Accordingly, common issues of

     fact and law predominate over any individual issues, and Plaintiff has satisfied this hurdle to

     certification.

             D.       Adequate Representation

             The third prong of Section 2-801 requires that “[t]he representative parties will fairly and

     adequately protect the interest of the class.” 735 ILCS 5/2-801(3). The class representative’s

     interests must be generally aligned with those of the class members, and class counsel must be

     “qualified, experienced and generally able to conduct the proposed litigation.” See Miner, 87111.2d



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      at 14; see also Eshaghi v. Hanley Dawson Cadillac Co., Inc., 214 Ill. App. 3d 995, 1000 (1st Dist.

§     1991). The purpose of this adequacy of representation requirement is “to insure that all Class
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      members will receive proper, efficient, and appropriate protection of their interests in the
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      presentation of the claim.” Purcell & Wardrope Chid. v. Hertz Corp., 175 Ill. App. 3d 1069, 1078
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      (1st Dist. 1988).
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i            In this case, Plaintiff has the exact same interest as the members of the proposed Class.
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<     Plaintiff has alleged that, like the other members of the Class, he was subjected to Defendant’s
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U.    biometric identity verification and access system and that Defendant captured, collected, stored.

      and disseminated his fingerprints and related biometric information. Plaintiff has also alleged that

      Defendant did so without complying with the BIPA’s requirements. Plaintiffs pursuit of this

      matter against Defendant demonstrates that he will be a zealous advocate for the Class. Further,

      proposed class counsel has regularly engaged in major complex and class action litigation in state

      and federal courts and have been appointed as class counsel in several complex consumer class

      actions. (See Declaration of David Gerbie, attached as Exhibit A). Accordingly, the proposed class

      representative and proposed class counsel will adequately protect the interests of the members of

      the Classes, thus satisfying Section 2-801(3).

             E.      Fair and Efficient Adjudication of the Controversy

             The final requirement for class certification under 5/2-801 is met where “the class action

      is an appropriate method for the fair and efficient adjudication of the controversy.” 735 ILCS 5/2-

      801(4). “In applying this prerequisite, a court considers whether a class action; (1) can best secure

      the economies of time, effort and expense, and promote uniformity; or (2) accomplish the other

      ends of equity and justice that class actions seek to obtain.” Gordon, 224 Ill. App. 3d at 203. In

      practice, a “holding that the first three prerequisites of section 2-801 are established makes it



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     evident that the fourth requirement is fulfilled.” Gordon, 224 Ill. App. 3d at 204; Purcell &

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(O   Wardrope Chtd., 175 Ill. App. 3d at 1079 (“The predominance of common issues [may] make a
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     class action ... a fair and efficient method to resolve the dispute.”). Because numerosity,
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     commonality and predominance, and adequacy of representation have been satisfied in the instant
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     case, it is “evident” that the appropriateness requirement is met as well.
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             Other considerations further support certification in this case. A “controlling factor in many
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<    cases is that the class action is the only practical means for class members to receive redress.”
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U.   Gordon, 586 N.E.2d at 467; Eshaghi, 574 N.E.2d at 766 (“In a large and impersonal society, class

     actions are often the last barricade of.. .protection.”). A class action is superior to multiple

     individual actions “where the costs of litigation are high, the likely recovery is limited” and

     individuals are unlikely to prosecute individual claims absent the cost-sharing efficiencies of a

     class action. Maxwell, 2004 WL 719278, at *6. This is especially true in cases involving BIPA,

     which can involve significant injury to the those effected, but result in many small, individual

     claims. Here, absent a class action, most members of the Class would find the cost of litigating

     their statutorily-limited claims to be prohibitive, and multiple individual actions would be

     judicially inefficient. Id.

             Certification of the proposed Class is necessary to ensure that Defendant’s conduct

     becomes compliant with BIPA, to ensure that the Class members’ privacy rights in their biometrics

     are sufficiently protected, and to compensate those individuals who have had their statutorily-

     protected privacy rights violated and who have not been informed as to the status of their own

     biometric information. Were this case not to proceed on a class-wide basis, it is unlikely that any

     significant number of Class members would be able to obtain redress, or that Defendant’s would .

     willingly implement the procedures necessary to honor the requirements of the statute. Thus,



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      proceeding as a class action here is an appropriate method to fairly and efficiently adjudicate the

§     controversy.
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      IV.     CONCLUSION
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              For the reasons set forth above, the requirements of 735 ILCS 5/2-801 are satisfied.
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      Plaintiff respectfully request that the Court enter an Order certifying the proposed Class,
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      appointing Plaintiff as Class Representative, appointing McGuire Law, P.C. as Class Counsel, and
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Q     awarding such additional relief as the Court deems reasonable. Alternatively, the Court should
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LL    defer ruling on this Motion pending the completion of appropriate discovery and supplemental

      briefing.


      Dated: April 1, 2019                         Respectfully Submitted,

                                                   RICHARD ROGERS, individually and on behalf of
                                                   a class of similarly situated individuals

                                                   By:/s/         David L. Gerbie
                                                            One ofPlaintiff’s Attorneys

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      Chicago, IL 60601
      Tel: (312) 893-7002
      Fax:(312)275-7895
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      Attorneys for Plaintiff and the Putative Class




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                                       CERTIFICATE OF SERVICE

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(O           The undersigned, an attorney, hereby certifies that on April 1, 2019, a copy of Plaintiff’s
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      Motion for Class Certification or, Alternatively, for a Deferred Class Certification Ruling Pending
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2     Discovery was filed electronically with the Clerk of Court using the e-filing system. A copy of this
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      will be served on Defendant’s registered agent.
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                             Exhibit A




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                       IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                           COUNTY DEPARTMENT, CHANCERY DIVISION
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S         RICHARD ROGERS, individually and on             )
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          behalf of similarly situated individuals,       )
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                   Plaintiff,                             )          No. 2019CH04168
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          CSX INTERMODAL TERMINALS, INC. )
LU        a Delaware corporation.        )                           Jury Trial Demanded
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                                  DECLARATION OF DAVID L. GERBIE

              I, David L. Gerbie, hereby aver, pursuant to 735 ILCS 5/1-109, that I have personal

      knowledge of all matters set forth herein unless otherwise indicated and would testify thereto if

      called as a witness in this matter.

              1.       I am an adult over the age of 18 and a resident of the State of Illinois.

              2.       I am fully competent to make this Declaration and I do so in support of Plaintiff s

      Motion for Class Certification or. Alternatively, for a Deferred Class Certification Ruling Pending

      Discovery.

              3.       I am an associate of the law firm McGuire Law, P.C. I am licensed to practice law

      in the State of Illinois, and I am one of the attorneys representing the Plaintiff in this matter.

              4.       McGuire Law, P.C. is a litigation firm based in Chicago, Illinois that focuses on

      class action litigation, representing clients in both state and federal trial and appellate courts

      throughout the country.

              5.       The attorneys of McGuire Law, P.C. have regularly engaged in complex litigation

      on behalf of consumers and have extensive experience prosecuting class action lawsuits similar in


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      size and complexity to the instant case. Attorneys at my firm have served as class counsel in

§     numerous complex consumer class actions. See, e.g., Shen et al v. Distributive Networks, Inc.
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      (N.D. Ill. 2007); McFerren etal v. AT&T Mobility, LLC (Sup. Ct. Fulton County, Ga. 2008); Gray
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s     et al V. Mobile Messenger Americas, Inc. et al., (S.D. Fla. 2008); Gresham et al v. Keppler &
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      Associates, LLC et al., (Sup. Ct. Los Angeles County, Cal. 2008); Weinstein et al v. The
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      Timberland Co., et al. (N.D. Ill. 2008); Sims et al v. Cellco Partnership et al., (N.D. Cal. 2009);
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il    al, (Cir. Ct. Cook County, Ill. 2009); Valdez et al v. Sprint Nextel Corporation (N.D. Cal. 2009);

      Parone et al v. m-Qube, Inc. et al, (Cir. Ct. Cook County, Ill. 2010); Satterfield et al v. Simon &

      Schuster (N.D. Cal. 2010); Espinal et al v. Burger King Corporation et al, (S.D. Fla. 2010);

      Lozano v. Twentieth Century Fox, (N.D. Ill. 2011); Williams et al v. Motricity, Inc. et al, (Cir. Ct.

      Cook County, Ill. 2011); Walker et al v. OpenMarket, Inc. et al, (Cir. Ct. Cook County, Ill. 2011);

      Schulken at al v. Washington Mutual Bank, et al, (N.D. Cal. 2011); In re Citibank HELOC

      Reduction Litigation (N.D. Cal 2012); Kramer et al v. Autobytel et al., (N.D. Cal. 2011); Rojas et

      al V. Career Education Co. (N.D. Ill. 2012); Ellison et al v. Steven Madden, Ltd. (C.D. Cal. 2013);

      Robles et al v. Lucky Brand Dungarees, Inc. et al., (N.D. Cal. 2013); Pimental et al v. Google, Inc.

      et al, (N.D. Cal. 2013); In re Jiffy Lube Spam Text Litigation (S.D. Cal. 2013); Lee et al v.

      Stonebridge Life Ins. Co. et al, (N.D. Cal. 2013); Gomez et al v. Campbell-Ewald Co. (C.D. Cal.

      2014); Murray et al v. Bill Me Later, Inc., 12-cv-4789 (N.D. Ill. 2014); Valladares et al v.

      Blackboard, Inc. (Cir. Ct. Cook County, Ill. 2016); Hooker et al. v. Sirius XM Radio, Inc. (E.D.

      Va. 2016); Seal et al v. RCN Telecom Services, LLC, (Cir. Ct. Cook County, Ill. 2017);

      Manouchehri, et al. v. Styles for Less, Inc., et al, (S.D. Cal. 2017); Vergara et al v. Uber




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      Technologies, Inc. (N.D. Ill. 2017); Flahive etal v. Inventurus Knowledge Solutions, Inc. (Cir. Ct.

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(D    Cook County 2017).
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              6.      I am a graduate of The University of Wisconsin Law School. I have been practicing

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      District Court for the Northern District of Illinois.
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              7.      McGuire Law, P.C. has diligently investigated the facts and claims in this matter
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o     and will continue to diligently investigate and prosecute this matter. McGuire Law, P.C. has also
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IL    dedicated substantial resources to this matter and will continue to do so. McGuire Law, P.C. has

      the financial resources necessary to fully prosecute this action through trial and to provide the

      necessary and appropriate notice to the class members should this proposed class be certified.



              I declare under penalty of perjury that the foregoing is true and correct.


      Executed on April 1, 2019 in Chicago, IL.


                                                      /s/ David L. Gerbie
                                                      One of Plaintiff’s Attorneys




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